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 8                                 UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                         No. 2:07-cr-0088 KJM DAD P
12                      Respondent,
13           v.                                        ORDER
14   MARGARITO RAMIREZ CABALLERO,
15                      Movant.
16

17           Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set aside, or

18   correct his sentence under 28 U.S.C. § 2255. The matter was referred to a United States

19   Magistrate Judge as provided by 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20           On November 24, 2014, the magistrate judge filed findings and recommendations, which

21   were served on all parties and which contained notice to all parties that any objections to the

22   findings and recommendations were to be filed within fourteen days. Movant has filed objections

23   to the findings and recommendations.1

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26      Movant, through his objections, seeks a reduction of his sentence pursuant to Amendment 782
     to the United States Sentencing Guidelines. See ECF No. 375 at 2. Movant’s objections are not
27   the proper vehicle for presenting this request to the court. Such a request should be made, if at
     all, by a motion to reduce sentence pursuant to 18 U.S.C. § 3582(c). The court makes no ruling at
28   this time on whether movant is entitled to a reduction of his sentence under Amendment 782.
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 1          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this
 2   court has conducted a de novo review of this case. Having carefully reviewed the file, the court
 3   finds the findings and recommendations to be supported by the record and by proper analysis.
 4   The court corrects a typographical error at page 14, line 21, changing the word desparate to
 5   disparate.
 6          Accordingly, IT IS HEREBY ORDERED that:
 7          1. With the correction noted in this order, the findings and recommendations filed
 8   November 24, 2014, are adopted in full;
 9          2. Movant’s motion pursuant to 28 U.S.C. § 2255 is denied;
10          3. The court declines to issue the certificate of appealability referenced in 28 U.S.C.
11   § 253; and
12          4. The Clerk of the Court is directed to close the companion civil case, No. 2:13-cv-1231
13   KJM DAD P.
14   DATED: March 12, 2015.
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17                                                    UNITED STATES DISTRICT JUDGE

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